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 7
 8                     IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                         )    CASE NO.:    1:12-cr-00035-AWI-DLB
11   UNITED STATES OF AMERICA,           )
                                         )
12                    Plaintiff,         )
                                         )    STIPULATION AND [PROPOSED]
13                                       )    PROTECTIVE ORDER BETWEEN THE
                 v.                      )    UNITED STATES AND DEFENDANT
14                                       )    BONNIE LYNN RECINOS
                                         )
15   BONNIE LYNN RECINOS,                )
      aka Bonnie Farr,                   )
16                                       )
                      Defendant.         )
17                                       )
                                         )
18
19        WHEREAS, the discovery in this case is voluminous and contains a
20   large amount of personal and confidential information including but not
21   limited to Social Security numbers, dates of birth, bank account
22   numbers,   telephone   numbers,   and   residential   addresses   (“Protected
23   Information”); and
24        WHEREAS, the parties desire to avoid both the necessity of large
25   scale redactions and the unauthorized disclosure or dissemination of
26   this information to anyone not a party to the court proceedings in this
27   matter;
28        The parties agree that entry of a stipulated protective order is
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 1   appropriate.
 2        THEREFORE, Defendant BONNIE LYNN RECINOS, by and through her
 3   counsel of record (“Defense Counsel”), and the United States of America,
 4   by and through Assistant United States Attorney Henry Z. Carbajal III,
 5   hereby agree and stipulate as follows:
 6        1.     This Court may enter a protective order pursuant to Rule 16(d)
 7   of the Federal Rules of Criminal Procedure, and its general supervisory
 8   authority.
 9        2.     This Order pertains to all discovery provided to or made
10   available    to   Defense   Counsel   as   part   of   discovery   in   this   case
11   (hereafter, collectively known as “the discovery”).
12        3.     By signing this Stipulation and Protective Order, Defense
13   Counsel agrees not to share any documents that contain Protected
14   Information with anyone other than Defense Counsel attorneys, designated
15   defense investigators, and support staff.          Defense Counsel may permit
16   the Defendant to view unredacted documents in the presence of his
17   attorney, defense investigators, and support staff.           The parties agree
18   that Defense Counsel, defense investigators, and support staff shall not
19   allow the Defendant to copy Protected Information contained in the
20   discovery.        The   parties   agree    that    Defense   Counsel,     defense
21   investigators, and support staff may provide the Defendant with copies
22   of documents from which Protected Information has been redacted.
23        4.     The discovery and information therein may be used only in
24   connection with the litigation of this case and for no other purpose.
25   The discovery is now and will forever remain the property of the United
26   States of America (“Government”).           Defense Counsel will return the
27   discovery to the Government or certify that it has been shredded at the
28   conclusion of the case.



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 1        5.   Defense Counsel will store the discovery in a secure place and
 2   will use reasonable care to ensure that it is not disclosed to third
 3   persons in violation of this agreement.
 4        6.   Defense   Counsel   shall    be     responsible   for   advising   his
 5   Defendant, employees, and other members of the defense team, and defense
 6   witnesses of the contents of this Stipulation and Order.
 7        7.   In the event that Defendant substitutes counsel, undersigned
 8   Defense Counsel agrees to withhold discovery from new counsel unless and
 9   until substituted counsel agrees also to be bound by this Order.
10
          IT IS SO STIPULATED.
11
12   DATED: March 5, 2012                       BENJAMIN B. WAGNER
                                                United States Attorney
13
14                                    By: /s/Henry Z. Carbajal III
                                           HENRY Z. CARBAJAL III
15                                         Assistant U.S. Attorney
16
     DATED: March 5, 2012             By: /s/Barbara Hope O’Neill
17                                         BARBARA HOPE O’NEILL
                                           Attorney for Defendant
18                                         BONNIE LYNN RECINOS
19
20                                  ORDER
21   IT IS SO ORDERED.
22
     Dated:      March 6, 2012
23   0m8i78                           CHIEF UNITED STATES DISTRICT JUDGE
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